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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                          LAKE CHARLES DIVISION



      STATE OF LOUISIANA, et al.,

                        Plaintiffs,

               v.                               Case No. 2:24-cv-629

      EQUAL EMPLOYMENT
      OPPORTUNITY COMMISSION,

                        Defendant.



      UNITED STATES CONFERENCE
      OF CATHOLIC BISHOPS, et al.,

                        Plaintiffs,

               v.                               Case No. 2:24-cv-691

      EQUAL EMPLOYMENT
      OPPORTUNITY COMMISSION, et
      al.,

                        Defendants.


                [PROPOSED] ORDER CONSOLIDATING ACTIONS

           Consistent with this Court’s oral ruling at the June 5, 2024 Motion

     Hearing and Status Conference, it is hereby ORDERED that the above-

     captioned cases (the “Cases”) are consolidated for purposes of any discovery

     and pre-trial motion practice. The Court reserves judgment on whether, if

     applicable, the Cases are to be consolidated for trial. Notwithstanding

     consolidation, the Cases shall retain their separate identities.
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            Additionally, Defendants’ deadline for responding to the Complaints in

     both Cases shall be July 29, 2024.



     It is so ordered.

     DATED: June __, 2024                  __________________________________
                                           David C. Joseph
                                           United States District Judge
